        CASE 0:22-cr-00076-KMM-TNL Doc. 62 Filed 08/17/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                            Cr. No. 22-76 (KMM/TNL)

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )       DEFENDANTS’ JOINT MOTION
             v.                          )       TO EXCLUDE TIME UNDER THE
                                         )       SPEEDY TRIAL ACT
SHEVIRIO KAVIRION                        )
     CHILDS-YOUNG (1),                   )
WILLIAM CHARLES SAFFOLD (2),             )
ERIC HARRELL KNIGHT (3), and             )
JAVEYON DEMARIO TATE (4),                )
                                         )
                    Defendant.           )


      Defendants, by and through their attorneys, respectfully move the Court to exclude

the period of time through the date of the motions hearing from the Speedy Trial Act (18

U.S.C. § 3161(h)(7)(A)) computations in this case. The grounds for this motion are set

forth in the accompanying Joint Motion for Extension of Time to File Pretrial Motions

and signed Statements of Facts in Support of Exclusion of Time Under Speedy Trial Act.




                                             1
       CASE 0:22-cr-00076-KMM-TNL Doc. 62 Filed 08/17/22 Page 2 of 2




                                   Respectfully submitted,

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